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                                                                                           Aug 15, 2019
                            UNITED STATES DISTRICT COURT                                    ANGELA E. NOBLE
                                                                                           CLERK U.S. DIST. CT.
                            SOUTHERN DISTRICT OF FLORIDA                                   S. D. OF FLA. - M IAMI


                             CASE NO.     _1_9_-6_0_2_3_1-_C_R_-A_L TMAN/HUNT
                                             18 u.s.c. § 371
                                             18 U.S.C. § 981(a)(l)(C)

 UNITED STATES OF AMERICA

 vs.

 ALAN G. HElDE,


 _____________
   Defendant.
                                         /


                                         INFORMATION

        The United States Attorney charges that:

                                  GENERAL ALLEGATIONS

        At all times material to this Information:

        1.      1 Global Capital LLC (" 1 Global") was a Florida limited liability company with its

 principal place of business in Hallandale Beach.

        2.      Individual #1 acted as the Chief Executive Officer of 1 Global from at least in or

 around February 2014, through in or around July 2018.

        3.      Defendant ALAN G. HEIDE was employed at 1 Global from in or around

 February 2014, through in or around August 2017, initially as the Chief Financial Officer and later

 as the Executive Vice President and Director, Syndicate Partner Relations.

                     CONSPIRACY TO COMMIT SECURITIES FRAUD
                                  (18 u.s.c. § 371)

        From in or around November 2015, through in or around July 2018, in Broward County,

 in the Southern District of Florida, and elsewhere, the defendant,
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                                         ALAN G. HEIDE,

  did willfully, that is, with the intent to further the objects of the conspiracy, and knowingly

  combine, conspire, confederate, and agree with Individual #1 and others, known and unknown to

 the United States Attorney, to commit certain offenses against the United States, that is, to

 knowingly, willfully, and unlawfully, by the use of means and instrumentalities of interstate

 commerce, the mails, and the facilities of national securities exchanges, directly and indirectly,

 use and employ manipulative and deceptive devices and contrivances in connection with the

 purchase and sale of securities, and (a) employ a device, scheme and artifice to defraud; (b) make

 untrue statements of material fact and omit to state material facts necessary in order to make the

 statements made, in light of the circumstances under which they were made, not misleading; and

 (c) engage in acts, practices and courses of business which would and did operate as a fraud and

 deceit upon any person, in connection with the purchase and sale of securities; in violation of Title

  15, United States Code, Sections 78j(b) and 78ff(a), and Title 17, Code of Federal Regulations,

 Section 240.l0b-5.

                               PURPOSE OF THE CONSPIRACY

         4.     It was a purpose of the conspiracy for the defendant and his conspirators to use false

 and fraudulent statements to investors concerning the operation and profitability of 1 Global, so

 that investors would provide funds to 1 Global, and continue to make false statements to investors

 thereafter so that investors would not seek to withdraw funds from 1 Global, all so that the

 conspirators could misappropriate investors' funds for their personal use and enjoyment.

                       MANNER AND MEANS OF THE CONSPIRACY

         The manner and means by which the defendant and his conspirators sought to accomplish

 the objects and purpose of the conspiracy included, among others, the following:


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         5.      Individual #1 owned and controlled 1 Global through certain entities that he also

  controlled, including a purported family trust.      Individual #1 had ultimate decision-making

  authority at 1 Global and was actively involved in financial matters, marketing, payments, and

  interactions with persons and entities who provided funding to 1 Global.

         6.      1 Global purportedly operated as a lending business to merchants, providing short-

  term loans referred to as merchant cash advance ("MCA") loans.       1 Global obtained funds for its

  operations and other purposes by raising money from investors (sometimes referred to as "lenders"

  or "syndicate partners") in the form of investment contracts with the promise of a return on the

  investor's investment.   Individual #1, ALAN G. HEIDE, and their conspirators made false and

  misleading representations to investors and potential investors as to the profitability of 1 Global's

  business and, once an investment was made, concerning the status and profitability of investors'

  investments.   Individual # 1, HEIDE, and their conspirators made these false statements in

  marketing materials and periodic account statements that were transmitted via the U.S. mail and

  in interstate email communications.

         7.      1 Global raised money from investors by representing that all or nearly all of that

  money would be applied to various MCA agreements with the investor supposedly receiving a

 portion of the proceeds paid back by the merchants under the MCA agreements.                1 Global

 purportedly applied a portion of the investor's funds to MCA loans, and held the remaining portion

 as "cash not deployed" in its own accounts until it could be utilized as part of an MCA loan.      In

 reality, at the direction of Individual #1, ALAN G. HEIDE and other conspirators caused funds

  obtained from investors to be used for purposes other than MCA loans in a manner that benefited
                                                                               I




  Individual # 1 and the conspirators, and that was inconsistent with the representations made to

  investors as to how their funds would be used.



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          8.     Throughout the operation of 1 Global, investors and potential investors would raise

  questions about the financial condition of 1 Global, whether 1 Global had an independent auditor

  who performed an independent audit or financial analysis related to 1 Global, and the status of

  investors' investments.     ALAN G. HEIDE participated in providing false and misleading

  statements to investors that gave the false impression that 1 Global had an independent auditor.

  In or around November 2015, Individual #1 directed HEIDE to cause monthly statements to be

  sent to investors via the U.S. mail that gave the false impression that the return reported to investors

 had been independently verified by an outside audit firm ("Audit Firm #1 ").          In or around July

 2016, at the direction of Individual # 1, HEIDE and others changed the wording of the monthly

 statements and described Audit Firm #1 as the "independent audit firm" for 1 Global.           This was

 false, because 1 Global never had an independent audit.         Nonetheless, Individual #1, HEIDE,

 and others continued to falsely describe the role of Audit Firm # 1 to investors and potential

 investors in periodic account statements and conversations in order to provide false comfort to

 investors.

         9.      Contrary to the financial picture provided to investors, ALAN G. HEIDE knew

 that 1 Global was not profitable and used investors' funds for purposes other than MCA

 agreements.     As time went on, at the direction oflndividual # 1, HEIDE and others used the "cash

 not deployed" funds that were received from new investors, to fund (a) ongoing operating

 expenses, as 1 Global experienced ongoing losses, including for large commission payments to 1

 Global employees or contractors who raised investor money, (b) the lavish personal lifestyle

 expenses of Individual #1 and his family members, (c) other businesses unaffiliated with 1 Global

 for which Individual #1 and his family members would receive an ownership interest, but the 1

 Global investors would receive no interest, and (d) to pay back earlier investors who sought to



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 cash out of their investments, but for which there were insufficient proceeds generated from the

 MCA loans to fund such payments.

        10.     ALAN G. HEIDE knew that 1 Global had a significant cash shortfall between the

 "cash not deployed" amounts that had been received from investors and the actual cash that 1

 Global had on hand.     HEIDE also knew that that this cash shortfall continued to increase over

 time and, because 1 Global used the cash derived from new investor money to pay back obligations

 to earlier investors, 1 Global came to operate in a manner consistent with a Ponzi scheme.

 Nonetheless, 1 Global continued to operate and raise money from new investors by using false and

 misleading statements as to its own financial condition, and HEIDE and his conspirators continued

 to make false statements concerning the state of the investors' investments.        Individual #1,

 HEIDE, and others also continued to use large commission payments that induced investment

 advisors and others to attract new investor money into the business.       During the time HEIDE

 worked there, 1 Global did not collapse because it was able to raise a sufficient amount of new

 investor money every month to fund its monthly operating losses as well as the various transfers

 directed by Individual #1 for his personal benefit.

        11.     ALAN G. HEIDE discussed the fact that 1 Global was not profitable with

 Individual #1, including that 1 Global had a significant cash shortfall.   HEIDE also confronted

 Individual #1 and stated that Individual #1 had taken more funds from the company than he had

 put into the company.     Nonetheless, Individual #1 continuously directed HEIDE and other 1

 Global employees to make financial transfers from various 1 Global bank accounts for the personal

 benefit and use of Individual #1 and his family members.      Eventually, these financial transfers

 constituted amounts well in excess of Individual #1 's purported investment into the business.

 HEIDE knew it was wrong to continue to participate in this activity but he did so in order to keep

 his job and avoid the legal and financial consequences that would occur if 1 Global collapsed.
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         12.     Individual #1, ALAN G. HEIDE, and others contributed to and reviewed

 marketing materials that contained false and misleading statements to investors concerning the

  safety and security of their investment in 1 Global, including by falsely describing the role of Audit

  Firm #1, falsely presenting 1 Global as having a profitable track record, and falsely describing the

 current status of investors' investments (including that Audit Firm # 1 periodically reviewed or

 confirmed the status of investors' investments).       By approximately early 2017, the cash deficit at

  1 Global was so great that no independent audit could be obtained by 1 Global without

  qualifications that would reveal the cash deficit or that would raise substantial doubt whether 1

 Global could continue to operate as a "going concern."        HEIDE and Individual #1 discussed the

 inability of 1 Global to obtain an audit for these reasons, but Individual #1 continued to direct

 HEIDE and others to make false anp misleading statements concerning the role of Audit Firm #1

 in investor statements and marketing materials.

         13.     On or about July 27, 2018, 1 Global filed for bankruptcy, after having fraudulently

 raised more than $330 million from more than 3,600 investors.           As of approximately June 30

 2018, 1 Global's internal financial records showed a cash shortfall of more than $50 million in

 missing investor funds.

                                            OVERT ACTS

         In furtherance of the conspiracy and to achieve the objects and purpose thereof, at least one

 conspirator committed and caused to be committed, in the Southern District of Florida, and

 elsewhere, at least one of the following overt acts, among others:

         1.      On or about November 3, 2015, in Hallandale Beach, Florida, ALAN G. HEIDE

 transmitted an email to Investment Advisor A, copied to Individual #1 and other 1 Global

 executives, that passed through and was located on computer servers in Louisiana, that included a

  pitch deck marketing package concerning 1 Global, containing false and misleading statements,
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 that an "External Independent CPA Firm validates Syndicate Partner [investor] portfolio balances

  quarter! y."

          2.     On or about June 6, 2016, in Hallandale Beach, Florida, ALAN G. HEIDE caused

 an investor statement to be sent via U.S. Mail to Investor #1 in Baton Rouge, Louisiana, falsely

 describing the status of the investor's investment in 1 Global and stating that"[ o]our independent

 audit firm, [Audit Firm #1], has endorsed and agrees with the [return on investment] ROI formula."

          3.     On or about February 10, 2017, in Hallandale Beach, Florida, ALAN G. HEIDE

 caused an investor statement to be sent via U.S. Mail to Investor #1 in St. Francisville, Louisiana,

 falsely describing the status of the investor's investment in 1 Global and stating that "[ o]our

 independent audit firm, [Audit Firm #1], has endorsed and agrees with the rate ofreturn formula."

          All in violation of Title 18, United States Code, Section 371.

                                           FORFEITURE
                                      (18 U.S.C. § 981(a)(l)(C))

          1.     The allegations of this Information are re-alleged and by this reference fully

 incorporated herein for the purpose of alleging forfeiture to the United States of certain property

 in which the defendant, ALAN G. HEIDE, has an interest.

          2.     Upon conviction of a violation of Title 18, United States Code, Section 371, as

 alleged in this Information, the defendant shall forfeit to the United States any property, real or

 personal, which constitutes or is derived from proceeds traceable to the offense of conviction.

          3.     If any of the property subject to forfeiture, as a result of any act or omission of the

 defendant:

                     a. cannot be located upon the exercise of due diligence;

                     b. has been transferred or sold to, or deposited with, a third party;

                     c. has been placed beyond the jurisdiction of the court;

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                    d. has been substantially diminished in value; or

                    e. has been commingled with other property which cannot be divided without

                        difficulty.

 the United States shall be entitled to forfeiture of substitute property under the provisions of Title

  21, United States Code, Section 853(p).

         All pursuant to Title 18, United States Code, Section 98l(a)(l)(C) and the procedures set

 forth in Title 21, United States Code, Section 853, made applicable through Title 28, United States

 Code, Section 246l(c).




                                                                                       \
                                               ARIANA FAJARDO ORSHAN




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                                                             COURT
                                                 SOUTHERN DISTRICT OF FLORIDA

UNITED STATES OF AMERICA                                       CASE NO._ _ _ _ _ _ _ _ _ _ _ _ _ _ __
      v.

ALAN G. HEIDE,
                                                               CERTIFICATE OF TRIAL ATTORNEY*

                                                               Superseding Case Information:
  _ _ _ _ _ _ _ _ _Defendant.
                   _ _ _ ___,!

Court Division:      (Select One)                              Newdefendant(s)             Yes        No
             Miami                  Key West                   Number of new defendants
 ,1          FTL                    WPB        FTP             Total number of counts

             1.      I have carefully considered the allegations of the indictment, the number of defendants, the number of
                     probable witnesses and the legal complexities of the Indictment/Information attached hereto.
             2.      I am aware that the information supplied on this statement will be relied upon by the Judges of this
                     Court in setting their calendars and scheduling criminal trials under the mandate of the Speedy Trial
                     Act, Title 28 U.S.C. Section 3161.
             3.      Interpreter:    (Yes or No)          No
                     List language and/or dialect
             4.      This case will take _O_ days for the parties to try.
             5.      Please check appropriate category and type of offense listed below:

                     (Check only one)                                  (Check only one)


             I       0 to 5 days                     ./                Petty
             II      6 to 10 days                                      Minor
             III     11 to 20 days                                     Misdem.
             IV      21 to 60 days                                     Felony
             V       61 days and over
             6.       Has this case previously been filed in this District Court?    (Yes or No) No
              If yes: Judge                                     Case No.
              (Attach copy of dispositive order)                           --------------
              Has a complaint been filed in this matter?         (Yes or No)      No
              If yes: Magistrate Case No.
              Related miscellaneous numbers:
              Defendant(s) in federal custody as of
              Defendant(s) in state custody as of
              Rule 20 from the District of
              Is this a potential death penalty case? (Yes or No)

              7.      Does this case originate from a matter pending in the Central Region of the U.S. Attorney's Office
                      prior to August 9, 2013 (Mag. Judge Alicia 0. Valle)?           Yes              No ,1

              8.      Does this case originate from a matter pending in the Northern Region U.S. Attorney's Office
                      prior to August 8, 2014 (Mag. Judge Shaniek Maynard)?           Yes            No ,1




                                                                                ANT UNITED STATES ATTORNEY
                                                                        Court ID No. A5501106
 *Penalty Sheet(s) attached                                                                                     REV 8/13/2018
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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                        PENALTY SHEET

  Defendant's Name: -
                    ALAIN
                      ~ ~G.~
                           HEIDE
                             ~=~---------------------

  Case No: - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -

  Count#: 1

  Conspiracy to Commit Securities Fraud

  Title 18, United States Code, Section 371

  * Max. Penalty:       Five (5) years' imprisonment




   *Refers only to possible term of incarceration, does not include possible fines, restitution,
           special assessments, parole terms, or forfeitures that may be applicable.
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AO 455 (Rev. 01/09) Waiver ofan Indictment


                                      UNITED STATES DISTRICT COURT
                                                          for the
                                               Southern District of Florida

                 United States of America                   )
                                V.                          )       Case No.
                      ALAN G. HEIDE,                        )
                                                            )
                            Defendant                       )

                                             WAIVER OF AN INDICTMENT

        I understand that I have been accused of one or more offenses punishable by imprisonment for more than one
year. I was advised in open court of my rights and the nature of the proposed charges against me.

        After receiving this advice, I waive my right to prosecution by indictment and consent to prosecution by
information.



Date:
                                                                                      Defendant's signature




                                                                                Signature ofdefendant's attorney


                                                                                       DERICZACCA
                                                                               Printed name ofdefendant's attorney




                                                                                        Judge's signature



                                                                                  Judge's printed name and title
